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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

ERIC BURKE, CRAIG BARKER, RICK
CALTON, ARTHUR SALISBURY,
WILLIAM CORY TANNER, BRIAN
TANNER, and TONY WEAVER,
on behalf of themselves and all others similar
situated,

                   Plaintiffs,

       v.                                             Civil Action No. 7:19-cv-11101 (PMH)

BIMBO BAKERIES USA, INC. and,
BIMBO FOODS BAKERIES
DISTRIBUTION, LLC,                                   ELECTRONICALLY FILED

                   Defendants.


                        JOINT MOTION TO STAY PROCEEDINGS

       Pursuant to this Court’s inherent authority, Defendants Bimbo Bakeries USA, Inc. and

Bimbo Foods Bakeries Distribution, LLC (“Defendants”) and Plaintiffs Eric Burke, Craig Barker,

Rick Calton, Arthur Salisbury, William Cory Tanner, Brian Tanner, and Tony Weaver

(“Plaintiffs”) (collectively, “the Parties”), by and through their undersigned attorneys, hereby

submit this Joint Motion to Stay all case-related deadlines pending the Parties’ submission of a

stipulation of dismissal with prejudice of all claims. The Parties hereby state as follows:

       1.      On October 6, 2020, the Parties engaged in private mediation of the instant action

and four other federal court class actions (pending in the U.S. District Courts for the District of

Maine, the District of Vermont, the District of New Hampshire, and the District of Massachusetts),

two multi-plaintiff federal court actions (pending in the U.S. District Courts for the Southern

District of New York and the Eastern District of Pennsylvania), and dozens of arbitrations pending

before the American Arbitration Association (“AAA”).
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         2.    Based on negotiations during and since the mediation, with the oversight and

assistance of Hunter Hughes (one of the leading wage/hour mediators in the country), the Parties

have agreed to settle the claims of Plaintiff along with their other litigation matters described

above.

         3.    In light of the foregoing, the Parties respectfully request that the Court stay all

deadlines pending settlement approval. Since the vast majority of the pending litigation is before

the AAA, the Parties anticipate seeking approval for the settlement of all actions/arbitrations

before a mutually agreeable arbitrator and thereafter would dismiss the federal court plaintiffs’

claims, including in this action, with prejudice by agreement.

         4.    The U.S. District Court for the District of New Hampshire has already approved

this approach in an FLSA collective action and Rule 23 state law class action, ordering the Parties

to file a stipulation of dismissal of all 14 FLSA Plaintiffs (2 Named Plaintiffs and 12 Opt-in

Plaintiffs) by November 13, 2020. See Unnumbered Endorsed Order, Camp, et al. v. Bimbo

Bakeries USA, Inc., et al., No. 1:18-cv-00378-SM (D.N.H. Oct. 14, 2020). The Camp action is

the most advanced of all the matters subject to the Parties’ recent mediation, with the Plaintiffs’

Motion to Certify Class under Rule 23 currently pending and Defendants’ motion to de-certify the

FLSA collective action otherwise due in the ensuing weeks. See id. at ECF No. 103. If the Court

would like to approach approval in this action differently, counsel for the Parties can be available

at the Court’s convenience.

         WHEREFORE, the Parties respectfully request that the Court stay all case-related

deadlines and order the Parties’ to submit a stipulation of dismissal with prejudice of all claims

within 30 days.




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Dated: October 15, 2020


 /s/   Matthew Thomson                      /s/   Michael J. Puma

 LICHTEN & LISS-RIORDAN, P.C.               MORGAN, LEWIS & BOCKIUS LLP
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 mthomson@llrlaw.com

 Samuel A. Alba
 Friedman & Ranzenhofer, P.C.    Application granted. The parties shall submit a joint
 74 Main Street                  stipulation of dismissal of all claims by November 16,
 Akron, NY 14001                 2020.
 716-631-9999
 sam@legalsurvivalcom            SO ORDERED.
 Attorneys for Plaintiffs
                                 ________________________
                                 Philip M. Halpern, U.S.D.J.

                                 Dated: New York, NY
                                        October 16, 2020




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